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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

 

IN RE: CHINESE-MANUFACTURED MDL NO. 2047

DRYWALL PRODUCTS LIABILITY ! SECTION: L
LITIGATION i JUDGE FALLON

 

i MAG. JUDGE WILKINSON
THIS DOCUMENT RELATES TO:

Payton, et al. v. Knauf GIPS KG, et. al., Case
No. 2:09-cv-07628 (E.D.La.)

Wiltz, et al. v. Beijing New Building Materials
Public Limited Co., et. al., Case No. 2:10-cv-
00361 (E.D.La.)

Gross, et al. v. Knauf Gips KG, et. al., Case
No. 2:09-cv-6690 (E.D.La.)

Rogers, et al. v. Knauf GIPS KG, et. al., Case
No. 2:10-cv-00362 (E.D.La.)

Abel, et. al. v. Taishan Gypsum Co., Ltd..,
j/k/a Shandong Taihe Dongxin Co., Ltd., et.
al., Case No. 2:11-cv-080 (E.D.La.)

Abreu, et. al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, Case No. 2:11-
cv-252 (E.D.La.)

Haya, et al v. Taishan Gypsum Co., Ltd. f/k/a
Shandong Taihe Dongxin Co., Ltd., et al.,
Case No. 11-cv-1077 (E.D.La.)

Block, et. al. vy. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et. al., Case No.
11-cv-1363 (E.D.La.)

 

PLAINTIFFS' OMNIBUS MOTION FOR PRELIMINARY DEFAULT JUDGMENT
Plaintiffs by and through their counsel, respectfully move this Honorable Court for an
Order, in the form appended hereto, entering preliminary default judgment against defendants
(hereafter the “Defaulting Defendants”) who have failed to timely enter an appearance after being

served with Plaintiffs’ Omnibus Class Action Complaints. For each of the omnibus class action
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complaints at issue in this motion, the Defaulting Defendants are as follows:

1.

With respect to the proceedings in Payton, the defaulting defendants are set forth
in Exhibit “A” to this motion;

With respect to the proceedings in Wiltz, the defaulting defendants are set forth in
Exhibit “B” to this motion;

With respect to the proceedings in Gross, the defaulting defendants are set forth in
Exhibit “C” to this motion;

With respect to the proceedings in Rogers, the defaulting defendants are set forth
in Exhibit “D” to this motion;

With respect to the proceedings in Abel, the defaulting defendants are set forth in
Exhibit “E” to this motion;

With respect to the proceedings in Abreu, the defaulting defendants are set forth in
Exhibit “F” to this motion;

With respect to the proceedings in Haya, the defaulting defendants are set forth in
Exhibit “G” to this motion; and

With respect to the proceedings in Block, the defaulting defendants are set forth in

Exhibit “H” to this motion.

Service of process has been perfected on each of the Defaulting Defendants on the dates

set forth in Exhibits “A” through “H”. Notwithstanding that service of process has been

perfected on these defendants, the Defaulting Defendants have failed to enter an appearance

despite this Court’s instruction that parties failing to do so will be subject to default judgement.

See Minute Entry dated August 11, 2009 [Document # 165]. See also Pretrial Order No. 1G

(clarifying that counsel must enter an appearance within twenty (20) days after service of a

complaint on their client) [Document # 3348]. Nor have these defendants answered the
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complaints or otherwise defended themselves within the period contemplated by Fed.Rule Civ.

Proc. 12.

Pursuant to Fed.R.Civ. P. 55, preliminary default judgement should be entered against

each of the Defaulting Defendants since they have not entered an appearance, answered the

applicable complaint, or otherwise offered any defense in the actions where they are currently in

default, notwithstanding that service of the complaints was perfected on the Defaulting

Defendants as set forth in Exhibits “A” through “H”.' For this reason, as well as those set forth

in the memorandum of law submitted in conjunction herewith, Plaintiffs respectfully request that

the Court enter preliminary default judgment against each of the Defaulting Defendants.

Dated: November 18, 2011

 

Respectfully submitted,

/s/ Russ M. Herman

Russ M. Herman, Esquire (Bar No. 6819)
Leonard A. Davis, Esquire (Bar No. 14190)
Stephen J. Herman, Esquire (Bar No. 23129)
HERMAN, HERMAN, KATZ & COTLAR, LLP
820 O'Keefe Avenue

New Orleans, Louisiana 70113

Phone: (504) 581-4892

Fax: (504) 561-6024

LDavis@hhke.com

 

Plaintiffs’ Liaison Counsel

MDL 2047

' With respect to the proceedings in Payton, Wiltz, Gross, and Rogers, the plaintiffs
participating in the intervention complaints are also entitled to preliminary default judgment for
the reasons set forth in the memorandum of law appended hereto.

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Arnold Levin (On the Brief)

Fred S. Longer (On the Brief)
Matthew C. Gaughan (On the Brief)
Levin, Fishbein, Sedran & Berman
510 Walnut Street, Suite 500
Philadelphia, PA 19106
215-592-1500 (phone)
215-592-4663 (fax)

Alevin@lfsblaw.com
Plaintiffs’ Lead Counsel MDL 2047

PLAINTIFFS’ STEERING COMMITTEE

Dawn M. Barrios

Barrios, Kingsdorf & Casteix, LLP
701 Poydras Street, Suite 3650
New Orleans, LA 70139

Phone: (504) 524-3300

Fax: (504) 524-3313

Barrios@bkc-law.com

Daniel E. Becnel, Jr.
Becnel Law Firm. LLC
P.O. Drawer H

106 W. Seventh Street
Reserve, LA 70084
Phone: (985) 536-1186
Fax: (985) 536-6445
dbecnel(@becnellaw.com

Robert C. Josefsberg
Podhurst Orseck, P.A.

25 Flagler Street, 8"" Floor
Miami, FL 33130

Phone: (305) 358-2800
Fax: (305) 358-2382
rjosefsberg@podhurst.com

 

Bruce William Steckler

Baron & Budd, P.C.

3102 Oak Lawn Ave., Suite 1100
Dallas, TX 75219

Phone: (214) 521-3605

Fax: (214) 520-1181
bsteckler@baronbudd.com

Ervin A. Gonzalez

Colson, Hicks, Eidson, Colson
Matthews, Martinez, Gonzales,
Kalbac & Kane

255 Alhambra Circle, Penthouse

Cora Gables, FL 33134

Phone: (305) 476-7400

Fax: (305) 476-7444

Ben W. Gordon, Jr.

Levin, Papantonio, Thomas, Mitchell
Echsner & Proctor, P.A.

316 S. Baylen Street, Suite 600
Pensacola, FL 32502

Phone: (850) 435-7000

Fax: (850) 435-7020
bgordon@levinlaw.com

Hugh P. Lambert

Lambert and Nelson

701 Magazine Street

New Orleans, LA 70130

Phone: (504) 581-1750

Fax: (504) 529-2931
hlambert@lambertandnelson.com

Gerald E. Meunier

Gainsburgh, Benjamin, David, Meunier
& Warshauer, LLC

2800 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2800

Phone: (504) 522-2304

Fax: (504) 528-9973
gmeunier@gainsben.com
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Jerrold Seth Parker

Parker, Waichman, Alonso LLP
3301 Bonita Beach Road
Bonita Springs, FL 34134
Phone: (239) 390-1000

Fax: (239) 390-0055

Jer ourlawyer.com

Scott Wm. Weinstein

Morgan & Morgan

12800 University Drive, Suite 600
Ft. Meyers, FL 33907

Phone: (239) 433-6880

Fax: (239) 433-6836
sweinstein@forthepeople.com

James Robert Reeves
Lumpkin & Reeves
160 Main Street
Biloxi, MS 39530
Phone: (228) 374-5151
Fax: (228) 374-6630

ir@lumpkinreeves.com

Christopher Seeger
Seeger Weiss, LLP

One William Street

New York, NY 10004
Phone: (212) 584-0700
Fax: (212) 584-0799
cseeger@seegerweiss.com

Daniel K. Bryson

Lewis & Roberts

3700 Glenwood Avenue, Suite 410
Raleigh, NC 27612

Phone: (919) 981-0191

Fax: (919) 981-0431

dkb@lewis-roberts.com

Richard J. Serpe, Esquire

Law Offices of Richard J. Serpe
Crown Center, Ste. 310

580 East Main Street

Norfolk, VA 23510-2322

rserpe@serpefirm.com

OF COUNSEL TO PLAINTIFFS’ STEERING COMMITTEE

Richard S. Lewis
HAUSFELD LLP

1700 K Street, N.W
Suite 650

Washington, DC 20006
Phone: (202) 540-7200
Fax: (202) 540-7201

rlewis@hausfeldllp.com

Jeremy W. Alters
Alters Law Firm, P.A.
4141 N_E. 2"! Avenue
Suite 201

Miami, FL 33137
Phone: (305) 571-8550
Fax: (305) 571-8559
jeremy(@alterslaw.com

Andrew A. Lemmon
Lemmon Law Firm, LLC
P.O. Box 904

15058 River Road
Hahnville, LA 70057
Phone: (985) 783-6789
Fax: (985) 783-1333

andrew@lemmonlawfirm.com
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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Plaintiffs’ Omnibus Motion for Preliminary
Default Judgment and Memorandum of Law in support thereof was served on Defendants’
Liaison Counsel, Kerry Miller, and Home Builders and Installers Liaison Counsel, Phillip
Wittmann, via email and United States first class mail, and upon all represented parties by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pre-Trial
Order No. 6, and that the foregoing was electronically filed with the Clerk of the Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System,
which will send a notice of electronic filing in accordance with the procedures established in
MDL 2047 on this on this 18th day of November, 2011.

I further certify that service on all Defaulting Defendants who are impacted by the
Plaintiffs’ Omnibus Motion for Preliminary Default Judgement was made by United States first
class mail.

/s/ Leonard A. Davis
Leonard A. Davis, Esquire
Herman, Herman, Katz & Cotlar, LLP
820 O’Keefe Avenue
New Orleans, Louisiana 70113
~ Phone: (504) 581-4892
Fax: (504) 561-6024
Ldavis@hhkc.com
Plaintiffs’ Liaison Counsel
MDL 2047

Co-counsel for Plaintiffs
